
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Answer.
Claimant seeks payment in the amount of $10,316.65 for medical services rendered to inmates in the custody of respondent atMt. Olive Correctional Complex, a facility of the respondent. Respondent, in its Answer, admits the validity of the claim, and further states that the correct amount owed to the claimant is $9,991.65 as one of the invoices included in the claim has been paid. Claimant agrees that the correct amount owed in this claim is $9,991.65. Respondent also states that there were insufficient funds in its appropriation for the fiscal year in question.from which to pay the claim.
While the Court believes that this is a claim which in equity and good conscience should be paid, the Court further believes that an award cannot be recommended based upon the decision in Airkem Sales and Service, et al. vs. Dept. of Mental Health, 8 Ct. Cl. 180 (1971).
Claim disallowed.
